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             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT



 AMERICAN HOSPITAL ASS’N, ET AL.,

      Plaintiffs-Appellees,

                        v.
                                                             Nos. 24-10775
XAVIER BECERRA, SECRETARY, U.S.
DEPARTMENT OF HEALTH AND HUMAN
SERVICES, ET AL.,

    Defendants-Appellants.



 MOTION TO VOLUNTARILY DISMISS APPEAL UNDER FEDERAL
          RULE OF APPELLATE PROCEDURE 42(b)

      Pursuant to Rule 42(b) of the Federal Rules of Appellate Procedure,

the federal government hereby respectfully moves to voluntarily dismiss

this appeal, with each side to bear their own costs. Counsel for plaintiffs

have indicated they consent to this motion.
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                                         Respectfully submitted,

                                         GERARD SINZDAK
                                         /s/ Laura E. Myron
                                         LAURA E. MYRON
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                                            Attorneys, Appellate Staff
                                            Civil Division
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                                            950 Pennsylvania Ave., NW, Rm.
                                            7228
                                            Washington, DC 20530
AUGUST 2024




                                     2
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                     CERTIFICATE OF COMPLIANCE

     I certify that this motion compiles with the word limit of Federal Rule

of Appellate Procedure 27(d)(2)(A) because, excluding the parts of the

document exempted by Federal Rule of Appellate Procedure 32(f), it

contains 85 words.




                                         /s/ Laura E. Myron
                                        LAURA E. MYRON
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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 29, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. I further certify that the participants in the case are registered

CM/ECF users and that service will be accomplished by the appellate

CM/ECF system.




                                            /s/ Laura E. Myron
                                           LAURA E. MYRON
